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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                4:14CR3114
      vs.
                                                                  ORDER
SONIA HERNANDEZ AND
FREDDY HERNANDEZ JR.,
                     Defendants.


      Defendant Freddy Hernandez, Jr. has moved to continue the trial currently set for
October 19, 2015. (Filing No. 86). As explained in the motion, the parties are currently
engaged in plea discussions. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendant Freddy Hernandez’s motion to continue, (filing no. 86), is
               granted.
      2)       As to both defendants, the trial of this case is set to commence before the
               Honorable John M. Gerrard, United States District Judge, in Courtroom 1,
               United States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on December
               14, 2015, or as soon thereafter as the case may be called, for a duration of
               five (5) trial days. Jury selection will be held at commencement of trial.

      3)       Based upon the showing set forth in the defendant Freddy Hernandez’s
               motion and the representations of counsel, the Court further finds that the
               ends of justice will be served by continuing the trial; and that the purposes
               served by continuing the trial date in this case outweigh the interest of the
               defendant and the public in a speedy trial. Accordingly, as to both
               defendants, the additional time arising as a result of the granting of the
               motion, the time between today’s date and December 14, 2015, shall be
               deemed excludable time in any computation of time under the requirements
               of the Speedy Trial Act, because despite counsel’s due diligence, additional
               time is needed to adequately prepare this case for trial and failing to grant
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          additional time might result in a miscarriage of justice.   18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7).


          October 6, 2015.
                                          BY THE COURT:
                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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